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             16

             17                             UNITED STATES DISTRICT COURT
             18          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
             19

             20 EDGAR TRUJILLO,                               Case No. 2:20-cv-05008-JFW-KS
             21                Plaintiff,                     DECLARATION OF MELISSA
                                                              NEWMAN AVILA IN SUPPORT OF
             22                                               JOINT MOTION REQUESTING
                        v.
                                                              APPROVAL OF PRIVATE
             23                                               ATTORNEY GENERAL ACT
                AIRPORT TERMINAL SERVICES,                    SETTLEMENT (“PAGA”) (LABOR
             24 INC., a Missouri corporation; and             CODE SECTION 2689 ET SEQ.)
                DOES 1 through 20, inclusive,                 Motion Hearing Date: October 25, 2021, 1:30pm
             25                                               Complaint Filed: April 3, 2020
                               Defendants.                    Trial Date:       August 31, 2021
             26                                               District Judge: Hon John F. Walter
decla MNE                                                     Magistrate Judge: Hon. Karen L. Stevenson
captopmn
             27

             28                                                                  Case No. 2:20-cv-05008-JFW-KS
                    DECLARATION OF MELISSA NEWMAN AVILA IN SUPPORT OF JOINT
                    MOTION REQUESTING APPROVAL OF PRIVATE ATTORNEY GENERAL
                     ACT SETTLEMENT (“PAGA”) (LABOR CODE SECTION 2689 ET SEQ.)
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  1

  2                  DECLARATION OF MELISSA NEWMAN AVILA

  3          I, Melissa Newman Avila, hereby declare as follows:
  4          1.    I am over eighteen years of age. I have personal knowledge of each of the
  5   matters set forth below and, if called as a witness, could and would competently testify
  6   to each of them under oath.
  7          2.    I am a senior attorney at THE LAW OFFICES OF RAMIN R.
  8   YOUNESSI, A.P.L.C. and am counsel of record for Plaintiff (“Plaintiff”) in the above-
  9   referenced lawsuit. I have practiced law for over 9 years and have litigated many wage
 10   and hour disputes in California.
 11          3.    This declaration is being submitted in support of the Joint Motion
 12   Requesting Approval of Private Attorney General Act Settlement (Labor Code §2698
 13   et seq.).
 14          4.     On April 3, 2020, Plaintiff filed a Complaint against Defendant in the
 15   Superior Court of the State of California, County of Los Angeles, Case No.
 16   20STCV13293 entitled Edgar Trujillo v. Airport Terminal Services, Inc., (the
 17   “Action”), alleging that the position he worked in as a “Ramp Manager” was
 18   misclassified by ATS as an exempt position and alleging: (1) failure to pay wages.; (2)
 19   failure to pay minimum wages; (3) failure to pay overtime wages; (4) failure to provide
 20   meal and rest periods; (5) failure to provide itemized wage and hour statements; (6)
 21   failure to pay waiting time penalties; (7) civil penalties for labor code violations under
 22   California’s Private Attorney General Action (“PAGA”) on behalf of himself and
 23   other allegedly aggrieved employees; (8) unfair competition (Business & Professions
 24   Code section 17200, et seq.); and (9) failure to provide one day of rest for every
 25   workweek) (the “Lawsuit”). The Matter was subsequently removed to United States
 26   District Court, Central District of California, Case No. 2:20-cv-05008-JFW-KS.
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 28
        DECLARATION OF MELISSA NEWMAN AVILA IN SUPPORT OF JOINT
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  1         5.      Plaintiff’s alleges that he and other coworkers (also employed as “Ramp
  2   Managers”) were harmed by Defendant in the following ways; the Ramp Managers (i)
  3   were not paid all wages; (ii) were not paid minimum wages; (iii) were not paid
  4   overtime wages; (iv) were not provided with rest breaks and/or rest break premiums;
  5   (v) were note provided with meal periods and/or meal period premiums; (vi) were not
  6   provided one day rest for every workweek; (vii) were not paid all wages owed at the
  7   time of their termination or resignation; and/or (viii) were not provided accurate
  8   itemized wage statements.
  9         6.      After the Action was filed, Plaintiff conducted substantial discovery on
 10   the alleged labor Code violations, as well as received and reviewed relevant wage
 11   records, testimony, and policies, to evaluate the strengths and weaknesses of the
 12   representative PAGA allegations.
 13         7.      Defendant categorically denies all of Plaintiff’s allegations.
 14         8.      On July 15, 2021, in a mediation with Judge Richard Stone, the Parties
 15   reached an agreement to settle the Action in its entirety including the representative
 16   PAGA claim. Attached hereto as Exhibit 1 and incorporate herein by this reference is
 17   a true and correct copy of the PAGA Settlement Agreement.
 18         9.      During the negotiations, the Parties discussed the case at length, including
 19   the relative strengths and weaknesses of the Parties’ positions as well as the benefits
 20   to all parties of an early, informal resolution. Prior to the resolution, Defendant
 21   produced extensive wage and time records for Plaintiff and testimony and policies
 22   regarding other non-exempt ramp manager employees employed during the PAGA
 23   liability period of January 30, 2019, to the date that the Court approves the PAGA
 24   settlement.
 25         10.     The Parties’ settlement resolves Plaintiff’s individual wage and hour
 26   claims and his PAGA representative claim.
 27         11.     The parties recognize that the public’s interest in ensuring the Court’s
 28
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  1   proper administration of the PAGA settlement approval procedure requires the
  2   disclosure of the amount of Settlement Payment that is allocated to Plaintiff’s PAGA
  3   claim. The Parties represent that they agreed to allocate $15,000.00 in settlement of
  4   Plaintiff’s PAGA claim. The relevant language from the settlement agreement reads
  5   as follows:
  6

  7      Settlement of PAGA Claims
  8

  9          4. Maximum Settlement Amount. ATS shall pay a sum not to exceed
 10      FIFTEEN THOUSAND DOLLARS ($15,000.00) (the “Maximum
 11      Settlement Amount” or “MSA”) to fund the settlement of PAGA claims and
 12      to pay reasonable attorney’s fees and costs. ATS will also pay a separate
 13      sum of a for the settlement of Plaintiff’s individual claims and attorney’s fees
 14      (together with the Maximum Settlement Amount, collectively the “global
 15      settlement amount). In the event a higher allocation of the total global
 16      settlement is required the PAGA portion of the settlement, the additional
 17      amount will be taken from the global settlement amount and an addendum to
 18      the individual settlement agreement will be entered into by the parties with a
 19      revised allocation. ATS will not be required to contribute any further sums
 20      to the global settlement amount in this event.
 21

 22          5. Fund to Pay PAGA Representative Group. All of the MSA not
 23      allocated to the cost to administer the PAGA settlement and to compensate
 24      Plaintiff’s counsel for its reasonable attorney’s fees as set forth in Paragraph 7
 25      shall be allocated to pay the PAGA settlement to the PAGA Representative
 26      Group (“PAGA Settlement Sum”). 75% of this sum in the approximate
 27      amount of $4,687.50 [($15,000.00 –$2,000.00 for PAGA administration–
 28
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  1       $6,750.00 for attorney’s fees) x (.75)] will be sent to the Labor & Workforce
  2       Development Agency and 25% in the approximate amount of $1,562.50
  3       [$6,250.00 remaining balance minus $4,687.50] will be allocated to the PAGA
  4       Representative Group. PAGA Representative Group members shall not be
  5       required to make claims but each shall simply be delivered a check for his or
  6       her respective share of the PAGA settlement, together with a memorandum
  7       jointly prepared by Plaintiff’s counsel and Defense counsel generally
  8       describing the payment, promptly after approval of the settlement. (Exh. 1, at
  9       pg. 1).
 10

 11         17.     It is believed that there may be approximately 8 individuals who fall within the
 12   PAGA Representative Group.
 13         18.     Generally, the settlement of Plaintiff’s PAGA claim should be approved
 14   because it is fair, adequate, and reasonable. See Kirkorian v. Borelli, 695 F. Supp. 446, 451
 15   (N.D. Cal. 1988) (opinion of experienced counsel is entitled to considerable weight).
 16         19.     In support of this conclusion, the Parties’ counsel considered the following:
 17         Factor 1: The Instant Settlement is the Result of Extensive Negotiations.
 18                 1(a)      A settlement agreement that is the “product of extensive and hard-
 19                           fought adversarial negotiations between the parties” is entitled to a
 20                           presumption of fairness. Wershba v. Apple Computer, Inc., 91 Cal.
 21                           App. 4th 224, 245 (2001).
 22                 1(b)      In this case, each of the Parties involved were zealously represented
 23                           by competent legal counsel with extensive experience in
 24                           employment law and have represented clients in numerous wage-
 25                           and-hour disputes.
 26         20.     Each party diligently and independently investigated the merits of
 27   Plaintiff’s claims. Defendant produced extensive wage and time records for Plaintiff
 28
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  1   and testimony and policies for other non-exempt employees employed during the
  2   PAGA liability period of January 30, 2019, to the date the Court approves the PAGA
  3   settlement. Based on Plaintiff’s review of these records, testimony, and policies, no
  4   violations were discovered with regards to the alleged Labor Code claims in the action.
  5   Plaintiff spent multiple hours reviewing and analyzing Plaintiff’s pay and time records
  6   and testimony regarding other employees in an effort to investigate the allegations
  7   made by Plaintiff.
  8                1(c)      Based on these circumstances, the instant PAGA settlement is
  9                          presumptively fair.
 10         Factor 2: Risk of Additional Litigation.
 11         21.    Counsel for each party also considered the fact that the existence of
 12   numerous disputes of fact in this case made summary judgment unlikely for all parties.
 13   As such, resolving the instant PAGA claim would require extensive litigation. In the
 14   estimation of each party’s counsel, the delay, inconvenience, distraction, and
 15   uncertainty imposed by these litigation demands would far outweigh the potential
 16   benefits of additional litigation. Specifically, Plaintiff would have needed to take the
 17   depositions of each of the potentially 8 aggrieved employees who worked for
 18   Defendant during the relevant time period, as well as the depositions of the various
 19   managers. Plaintiff also learned during the course of discovery that some of the
 20   individuals comprising the PAGA Representative Group are no longer employed by
 21   the Defendant and that securing their availability for deposition would be challenging.
 22         Factor 3: Amount of PAGA Settlement.
 23         24. The amount of the PAGA settlement is sufficient to serve the policy rationale
 24   underlying PAGA. Indeed, the settlement amount is comparable (if not more generous than)
 25   PAGA settlements involving much larger groups of allegedly aggrieved employees. For
 26   example, in Schiller v. David’s Bridal, Inc., 1:10-cv-00616-AWI-SKO, 2012 U.S. Dist.
 27   LEXIS 80776 (E.D. Cal. June 11, 2012), the Court approved a $10,000 PAGA settlement in
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  1   a case involving 3,327 class members. Similarly, in Chu v. Wells Fargo Investments, LLC,
  2   No. C-05-4526 MHP, 2011 U.S. Dist. LEXIS 15821 (N.D. Cal. Feb. 16, 2011), the Court
  3   approved a $10,000 PAGA settlement in a case involving 2,752 class members. As such,
  4   because the instant settlement allocates $15,000.00 for approximately 8 aggrieved
  5   employees, the amount of the settlement is more than reasonable. Here, Parties are asking
  6   this Court to approve a $15,000.00 PAGA settlement for approximately 8 aggrieved
  7   employees.
  8                Factor 4: Defendant’s Arguments.
  9         25.    Counsel for Plaintiff and the allegedly aggrieved employees also had to
 10   consider the various arguments advanced by Defendant in order to evaluate the appropriate
 11   settlement value of Plaintiff’s PAGA claim:
 12                a.     Defendant maintains that in light of the evidence adduced from
 13   plaintiff’s pay and time records, testimony, and policies, that he was not denied rest
 14   periods during any of the pay periods and thus does not have standing to maintain a
 15   PAGA action. See Holak v. K Mart Corp., Case No. 1:12-cv-00304-AWI-MJS, 2015
 16   U.S. Dist. LEXIS 65439 (E.D. Cal. May 19, 2015) (“Because Plaintiff is not aggrieved
 17   by any of the specific Labor Code violations alleged in the PAGA claim, she does not
 18   have standing to maintain this PAGA action.”).
 19                b.     Defendant also maintains that Plaintiff cannot maintain a PAGA
 20   claim because there is no evidence of a common policy or practice that prevented,
 21   inhibited, or discouraged employees from taking their statutory meal and rest breaks.
 22   See, e.g., Amey v. Cinemark USA, Inc., No. 13-05669, 2015 U.S. Dist. LEXIS 63524
 23   (N.D. Cal. May 13, 2015) (striking PAGA claim because the evidence showed that
 24   numerous individualized determinations would be necessary to determine whether any
 25   class member has been injured); Geshgian v. CVS Caremark Corp., No. C-12-05859
 26   EDL, 2014 U.S. Dist. LEXIS 36833 (N.D. Cal. Mar. 19, 2014); Litty v. Merrill Lynch
 27   & Co., Inc., No. CV-14-0425 PA (PJWx), 2014 U.S. Dist. LEXIS 160448 (C.D. Cal.
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  1   Nov. 10, 2014), Bowers v. First Student, Inc., No. 2-14-cv-8866 ODW (Ex), 2015 U.S.
  2   Dist. LEXIS 54238 (C.D. Cal. April 23, 2015); Raphael v. Tesoro Ref. & Mktg. Co.
  3   LLC, No. 2:15-CV-02862-ODW, 2015 U.S. Dist. LEXIS 130532 (C.D. Cal. Sept. 25,
  4   2015).
  5                 c.     Plaintiff’s Counsel also took into account that even if Plaintiff
  6   prevailed on the merits of his PAGA claim, Defendant could persuasively argue that
  7   the Court should exercise its discretion, under Labor Code § 2699(e), to reduce the
  8   amount of civil penalties assessed. A Court in a PAGA action has the same discretion
  9   “to assess a civil penalty” that the Labor Commissioner would have, as well as
 10   complete discretion to “award a lesser amount than the maximum civil penalty amount
 11   specified [by PAGA] if, based on the facts and circumstances of the particular case, to
 12   do otherwise would result in an award that is unjust, arbitrary and oppressive, or
 13   confiscatory.”
 14          26.    While Plaintiff’s Counsel disagrees that Defendant’s arguments are legally
 15   correct or persuasive, they had to consider the foregoing facts and arguments and how they
 16   might impact any judgment ultimately awarded if the Court were persuaded by them. In light
 17   of these arguments and the potential risks, Plaintiff’s Counsel determined that the Settlement
 18   was fair and reasonable.
 19          27.    Based on these circumstances, the instant PAGA settlement is
 20   presumptively fair. While Plaintiff’s Counsel disagrees that Defendant’s arguments
 21   are legally correct or persuasive, they had to consider the foregoing facts and
 22   arguments and how they might impact any judgment ultimately awarded if the Court
 23   were persuaded by them. In light of these arguments and the potential risks, Plaintiff’s
 24   Counsel determined that the Settlement was fair and reasonable.
      ///
 25
      ///
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      ///
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  1         I declare under penalty of perjury under the laws of the United States of
  2   America and the State of California that the foregoing is true and correct. Executed
  3   this 11th day of September 2021, in Los Angeles, California.
  4                                  _______________________________
  5                                            Melissa Newman Avila, Esq.
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